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                              THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


  IN RE : JOHNSON & JOHNSON TALCUM
  POWDER PRODUCTS MARKETING,                           MDL No. 2738
  SALES PRACTICES AND PRODUCTS
  LIABILITY LITIGATION                                 3:16-md-02738-FLW-LHG



  This Document Relates to: ALL ACTIONS



                         INITIAL STATUS REPORT AND
                PROPOSED ORGANIZATIONAL CONFERENCE AGENDA

         As requested in the Court’s October 20, 2016 Order, defendants Johnson & Johnson and

  Johnson & Johnson Consumer Inc. (collectively, “the J&J Defendants”) hereby submit this

  report suggesting a series of topics for discussion at the November 17, 2016 Organizational

  Conference and providing explanations of each of those topics that include the background

  information requested in the Court’s October 20, 2016 Order.

         The threshold question presented by this litigation is medical causation – i.e., can perineal

  exposure to talc cause ovarian cancer? A recent decision by Judge Nelson C. Johnson of the

  Superior Court of New Jersey, Law Division, Atlantic County, in the coordinated Multi-County

  New Jersey talc litigation answered that question in the negative. See Carl v. Johnson &

  Johnson, No. ATL-L-6540-14, 2016 N.J. Super. Unpub. LEXIS 2102 (Law Div. Sept. 2, 2016),

  appeal pending. That ruling was based on extensive briefing and a two-week hearing during

  which the primary experts for both sides offered testimony. The J&J Defendants respectfully

  submit that this issue should likewise be addressed by this MDL Court as soon as possible. As

  detailed below, the J&J Defendants therefore urge that the Court should enter a case
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  management order calling for consideration of Daubert motions on general and specific

  causation evidence in the short term. To that end, the J&J Defendants urge the prompt, random

  selection of a set of individual claims for case-specific fact and expert discovery sufficient to tee

  up Daubert motions.

                             Proposed Organizational Conference Topics

  I.        SCIENCE DAY

            The J&J Defendants request that the Court hold a “Science Day” in January 2017 during

  which the parties and their experts can outline their positions/arguments regarding the medical

  and science issues at play. The science issues in these cases have been studied for years, and the

  Court and the parties would benefit from a robust discussion of these matters.

  II.       DAUBERT MOTIONS/SELECTION OF CASES FOR FACT DEVELOPMENT

            This Court should adopt a robust procedure for assessing the scientific validity of

  plaintiffs’ claims at the outset of the litigation.

            After receipt of extensive written and oral testimony and evidence, the New Jersey court

  ruled that plaintiffs’ experts’ opinions on general causation were not reliable as a matter of law.

  The New Jersey court highlighted the “narrowness and shallowness” of plaintiffs’ causation

  experts’ “litigation-driven” opinions. Carl, 2016 N.J. Super. Unpub. LEXIS 2102, at *56, *62.

  More specifically:

        •   the court determined that plaintiffs’ experts’ conclusions rested largely on a
            cherry-picked subset of epidemiological studies and ignored much larger studies
            that denied any association between talc and ovarian cancer – “almost as if
            counsel and the expert witnesses were saying, Look at this, and forget everything
            else science has to teach us.” Id. at *35.

        •   the court emphasized plaintiffs’ experts’ critical “failure to provide a coherent
            explanation to support their hypothesis for biological plausibility” – i.e., the
            mechanism by which talc supposedly can cause ovarian cancer. Id. at *36.




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      •   the court noted that the “most troubling” part of plaintiffs’ experts’ theory was
          their “litigation driven” efforts to “use epidemiology to prove specific causation”
          by “‘employing the results of group-based studies of risk to make a causal
          determination for an individual plaintiff’” in a manner that well exceeded “‘the
          limits of epidemiology.’” Id. at *56 (quoting Reference Manual on Scientific
          Evidence (3rd Edition) at 553).

          Notably, the New Jersey court’s ruling addresses the opinions of experts who were at the

  center of the three plaintiff verdicts in cases tried in Missouri state court, but its ruling is far

  more comprehensive and thorough than anything that has come out of the Missouri litigation. 1

  And as a result of the ruling, the parties were spared the substantial expense of going forward to

  trial in the first two cases set for trial in the New Jersey proceeding.

          The experience in the New Jersey state court proceeding makes clear that there is no

  reliable scientific support for plaintiffs’ claims of a link between cancer and perineal talc

  exposure. As a result, the interests of fairness and judicial efficiency dictate that the Court

  develop a procedure to test at an early date the scientific evidence on which plaintiffs intend to

  base their claims.

          To that end, the J&J Defendants propose that the Court randomly select several cases that

  can be worked up for initial expert discovery on the issues of general and specific causation. It is

  well recognized that to ensure the representativeness of such cases, they should be selected at

  random from within the plaintiff pool. See MANUAL FOR COMPLEX LITIGATION, 4TH § 22.315

  (2004) (“To obtain the most representative cases from the available pool, a judge should direct



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          In Berg v. Johnson & Johnson, 940 F. Supp. 2d 983, 989-93 (D.S.D. 2013), a federal
  court refused to exclude expert epidemiological evidence similar to that which was rejected in
  the New Jersey litigation. That decision, however, was wrongly decided because the court failed
  to consider scientific studies and principles that undermined or expressly rejected the causation
  theory endorsed by plaintiffs’ experts. In addition, subsequent scientific developments,
  including an FDA determination and the publication of two large prospective epidemiological
  cohort studies, have made clear that there is no biological mechanism by which talc might lead to
  ovarian cancer and no causal association between perineal talc use and ovarian cancer.

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  the parties to select test cases randomly or limit the selection to cases that the parties agree are

  typical of the mix of cases.”); see also CMO No. 2 at 3, In re Plavix Prod. Liab. & Mktg. Litig.,

  Nos. 3:13-cv-03610-FLW-TJB, et al. (D.N.J. filed July 25, 2014) (specifying that in part, cases

  for intensive factual development should be “randomly selected”); CMO No. 15, In re Benicar

  (Olmesartan) Prods. Liab. Litig., No. 15-md-02606 (D.N.J. filed Nov. 23, 2015) (ordering that

  “the Court shall randomly select” 30 bellwether cases and allowing for plaintiffs and defendants

  to each strike five cases); In re Norplant Contraceptive Prods. Liab. Litig., No. 4:03-cv-1507-

  WRW, 1996 WL 571536, at *1 (E.D. Tex. Aug 13, 1996) (“[f]ollowing random selection of the

  twenty-five bellwether trial plaintiffs”); Order re: Bellwether Trial Selection at 2, In re Prempro

  Prods. Liab. Litig., MDL No. 1507 (E.D. Ark. June 20, 2005) (noting that bellwether cases were

  to be literally “randomly draw[n] from a hat”); Pretrial Order No. 89, In re Baycol Prods. Litig.,

  No. 01-md-01431 (D. Minn. July 18, 2003) (the court’s trial selection program included all cases

  filed in the District of Minnesota involving Minnesota residents “plus a minimum of 200

  additional cases selected at random from all MDL filed cases”). Such random selection of a

  group of cases for initial development will allow the parties to focus on working up their science

  cases based on the specific facts and medical histories of the selected plaintiffs.

  III.   COORDINATION WITH STATE COURT PROCEEDINGS

         Three state courts are presently overseeing talcum powder-related personal injury cases

  against the J&J Defendants.

         First, approximately 202 single-plaintiff cases are currently pending in the New Jersey

  state court coordinated proceeding before Judge Johnson that is referenced above.

         Second, 20 multi-plaintiff cases (with a total of approximately 1,469 plaintiffs) are

  pending in the aggregate claim litigation proceedings pending before several judges in the 22nd




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  Judicial Circuit Court, St. Louis (City), Missouri. The overwhelming majority of the claimants

  in those cases are non-Missouri residents. Three cases have been tried to plaintiffs’ verdicts

  before Judge Rex M. Burlison (Division 10 of that court), based in part on the testimony of

  experts whose opinions were rejected by Judge Johnson in the New Jersey litigation.

         Finally, 60 cases (with a total of approximately 249 plaintiffs) are pending in a California

  coordinated proceeding, Johnson & Johnson Talcum Powder Cases, Judicial Council

  Coordinated Proceeding No. 4877. Initially, those cases were assigned to Judge Lisa Hart Cole

  of the Superior Court of the State of California for the County of Los Angeles. However, within

  the next several weeks, that coordinated proceeding will be reassigned to Judge Maren E. Nelson

  of the same court.

         Close coordination of these federal and state court proceedings is imperative, particularly

  with respect to consideration of science issues (as discussed above).

  IV.     PENDING/DECIDED CASE-SPECIFIC MOTIONS

         As of today, the Judicial Panel on Multidistrict Litigation (the “MDL Panel”) has

  finalized transfer orders sending 57 actions into this MDL proceeding. In those actions, certain

  motions were filed (but not decided) in the transferor district courts.

         A list of pending motions to dismiss is attached as Appendix A.        The J&J Defendants

  respectfully request that the Court direct the parties to develop a jointly proposed schedule for

  the completion of briefing in these matters.

         Jurisdictional Motions

         Motions to remand have been filed and remain pending in three cases:                Lovato

  (transferred from D.N.M.), Jackson, and McBride (both transferred from E.D. La.). Additional

  cases in which transfer motions are pending likely will be transferred to this Court once disputes




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  concerning Conditional Transfer Orders are resolved.2            To the extent briefing has been

  completed on those remand motions, such briefing has focused on the law of the Circuits in

  which those cases were originally filed. The J&J Defendants respectfully request that before this

  Court considers those motions, 3 the parties be permitted to re-brief the remand issues under

  Third Circuit law.

         The J&J Defendants’ request for re-briefing is based on the fact thatthis Court should

  apply Third Circuit law in deciding any subject matter jurisdiction issues presented in this

  proceeding. See, e.g., In re Korean Air Lines Disaster on Sept. 1, 1983, 829 F.2d 1171, 1174

  (D.C. Cir. 1987) (“[W]e are persuaded by thoughtful commentary that ‘the transferee court

  [should] be free to decide a federal claim in the manner it views as correct without deferring to

  the interpretation of the transferor circuit.’”) (quoting Richard L. Marcus, Conflict Among

  Circuits and Transfers Within the Federal Judicial System, 93 Yale L.J. 677, 721 (1984)) aff’d,

  490 U.S. 122 (1989); see also In re Am. Gen. Life Ins. Co. Sales Practices Litig., 391 F.3d 907,

  911 (8th Cir. 2004) (“When a transferee court receives a case from the MDL Panel, the

  transferee court applies the law of the circuit in which it is located to issues of federal law.”); In


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          Motions to remand have been filed in five additional actions currently pending in the U.S.
  District Court for the Eastern District of Missouri: Eveland, Frazier, Gallow, Logan and Starks.
  Additionally, a motion to remand has been filed in one action pending in the U.S. District Court
  for the Eastern District of Pennsylvania: Mason. Plaintiffs have objected to the CTOs sending
  those cases to this MDL proceeding. The next MDL Panel hearing is set for December 1, 2016,
  but the objections in these cases are not on the agenda for that session. Thus, those objections
  are not likely to be resolved until the MDL Panel’s hearing on January 26, 2017.
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          The MDL Panel has repeatedly held that motions for remand to state court may be
  presented to and decided by a transferee court. See, e.g., In re Ford Motor Co. Crown Victoria
  Police Interceptor Prod. Liab. Litig., 229 F. Supp. 2d 1377, 1378 (J.P.M.L. 2002) (“We note that
  any pending motions to remand these actions to their respective state courts can be presented to
  and decided by the transferee judge.”); see also In re McDonald’s French Fries Litig., 545 F.
  Supp. 2d 1356, 1356 (J.P.M.L. 2008) (holding that the plaintiffs could present to the transferee
  judge a motion to remand to state court).



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  re Temporomandibular Joint (TMJ) Implants Prod. Liab. Litig., 97 F.3d 1050, 1055 (8th Cir.

  1996) (“When analyzing questions of federal law, the transferee court should apply the law of

  the circuit in which it is located.”). Notably, other district courts of the Third Circuit have

  followed the same course. E.g., In re: Domestic Drywall Antitrust Litig. Civil Action, No. 13-

  2437, 2016 WL 3769680, at *2 (E.D. Pa. July 13, 2016) (adopting Korean Air and noting that,

  “[s]urprisingly, neither the Supreme Court nor the Third Circuit have addressed this issue”);

  Kaiser Found. Health Plan, Inc. v. Medquist, Inc., No. CIV.08-4376 (JBS), 2009 WL 961426, at

  *4 (D.N.J. Apr. 8, 2009) (“[T]he transferee court is usually free to decide [federal issues] in the

  manner it views as correct without deferring to the interpretation of the transferor circuit.”)

  (internal quotation marks omitted); In re Nazi Era Cases Against German Defs. Litig., 198

  F.R.D. 429, 439 n.16 (D.N.J. 2000) (“When dealing with cases that have been consolidated for

  pretrial proceedings pursuant to an order of the MDL Panel under 28 U.S.C. § 1407, the law of

  the transferor forum merits close attention, but should not be read to have stare decisis effect in a

  transferee forum situated in another circuit.”).

         In similar circumstances, other MDL courts have ordered that remand motions be briefed

  anew where, as here, they were initially briefed under the law of a transferor court in a different

  Circuit. See ECF No. 217, In re Fosamax Prods. Liab. Litig., No. 1:06-MD-1789 (S.D.N.Y.

  filed Dec. 26, 2007) (ordering that all remand motions filed in a transferor court be re-briefed);

  see also ECF No. 299, In re: DePuy Orthopaedics, Inc. ASR Hip Implant Prods. Litig., No. 1:10-

  MD-2197 (N.D. Ohio filed Oct. 31, 2011) (vacating all case management orders and scheduling

  orders issued by any transferor courts and motions filed in transferor courts and allowing the

  parties to refile such motions with the MDL court).




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         Class Action Complaints

         Three class actions have been transferred to this MDL proceeding: Mihalich, Estrada

  and Joseph. In Mihalich, originally filed in the U.S. District Court for the Southern District of

  Illinois, plaintiffs seek to represent a proposed class of all consumers who purchased Johnson &

  Johnson’s baby powder in the state of Illinois, asserting causes of action under the Illinois

  Consumer Fraud and Deceptive Business Practice Act and for unjust enrichment. Initially, the

  J&J Defendants moved to dismiss all claims on numerous grounds, including failure to state a

  claim, failure to meet the heightened pleading requirement of Rule 9(b), overbreadth and lack of

  standing. The court granted the motion in full with leave to amend. Mihalich v. Johnson &

  Johnson, No. 14-CV-600-DRH-SCW, 2015 WL 9455559, at *5 (S.D. Ill. Dec. 28, 2015). The

  plaintiffs amended their complaint, and the J&J Defendants again moved to dismiss. The court

  granted the J&J Defendants’ second motion to dismiss the plaintiffs’ claim for injunctive relief

  and denied the motion to dismiss the plaintiffs’ Illinois Consumer Fraud Act claim. Mihalich v.

  Johnson & Johnson, No. 14-CV-600-DRH-SCW, 2016 WL 5106970, at *6 (S.D. Ill. Sept. 20,

  2016). The case was then transferred to this Court.

         In Estrada, originally filed in the U.S. District Court for the Eastern District of

  California, plaintiff seeks to represent a proposed class of consumers who have purchased J&J

  baby powder in California, alleging violations of the California Consumer Legal Remedies Act,

  Business & Professions Code, as well as negligent misrepresentation and breach of implied

  warranty. The J&J Defendants moved to dismiss the complaint in full. (See Mot. to Dismiss

  and/or Strike the Compl., ECF No. 18, Estrada v. Johnson & Johnson, No. 2:14-cv-01051-TLN-

  KJN (E.D. Cal. filed June 20, 2014).) The plaintiff then amended her complaint, and the J&J

  Defendants again moved to dismiss in full. (See First Am. Compl., ECF No. 27, Estrada v.




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  Johnson & Johnson, No. 2:14-cv-01051-TLN-KJN (E.D. Cal. filed Apr. 24, 2015); Mot. to

  Dismiss and/or Strike Pl.’s First Am. Compl., ECF No. 29, Estrada v. Johnson & Johnson, No.

  2:14-cv-01051-TLN-KJN (E.D. Cal. filed May 18, 2015).) However, the case was transferred to

  this MDL proceeding before the court ruled on the motion.

          Finally, in Joseph, originally filed in the U.S. District Court for the Middle District of

  Louisiana, plaintiffs seek to represent a proposed personal injury class, alleging negligence,

  intentional misrepresentation, fraudulent concealment, negligent misrepresentation, failure to

  warn, design and manufacturing defect, breach of warranty and violation of Louisiana’s Unfair

  Trade Practices Act. The proposed class is defined as “[a]ll persons, and spouses of persons,

  who sustained injuries as a result of the use of talcum powder based products or will develop

  injuries as a result of the prior use of talcum powder based products.” (See Compl. ¶ 50, Joseph

  v. Johnson & Johnson, No. 3:16-cv-00590-JJB-RLB (E.D. La.).) No motions have been filed in

  that case.

  V.       COMMON DISCOVERY

          The J&J Defendants have engaged in substantial fact and expert discovery, including the

  production of documents and the furnishing of expert reports, in the litigation pending in

  Missouri and New Jersey described above, as well as in the Berg case previously tried to verdict

  before the U.S. District Court for the District of South Dakota.          Discovery from those

  proceedings has been shared and used in all pending talc litigation, including the Chakalos case

  originally filed in this District.4 The discovery from the J&J Defendants includes approximately

  500,000 pages of documents and responses to multiple rounds of interrogatories. In addition,

  several corporate representatives have been deposed.



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          Some discovery has also been conducted in the Mihalich class action referenced above.

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        In briefing before the MDL Panel on the motion to create this MDL proceeding, several

 plaintiffs’ counsel urged that common discovery was complete (or largely complete) regarding

 the claims at issue. See In re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Practices,

 & Prods. Liab. Litig., MDL No. 2738, 2016 WL 5845997, at *1 (J.P.M.L. Oct. 4, 2016) (“the

 opposing plaintiffs argue that centralization is unnecessary because thousands of claims have

 been pending in state courts for several years and, thus, the common discovery in these actions is

 already complete”); see also, e.g., Pl. Mahnaz Khorrami’s Resp. in Opp’n to Moving Plaintiff

 Tanashiska Lumas’ Mot. for Consolidation & Transfer Pursuant to 28 U.S.C. § 1407 at 3, JPML

 ECF No. 53 (filed Aug. 9, 2016) (“The discovery that has occurred in this litigation is

 substantial. Plaintiff is aware that approximately 170,000 documents have been produced and

 seven depositions of Defendants’ corporate witnesses have either taken place and/or are

 scheduled to take place.”); Pls.’ Mona Estrada’s & Barbara Mihalich’s Interested Party Resp. in

 Opp’n to Mot. for Consolidation & Transfer of Actions Pursuant to 28 U.S.C. §1407 at 4, JPML

 ECF No. 46 (filed Aug. 5, 2016) (“The State Courts have served as the epicenter of this litigation

 for years.   There has been significant corporate discovery, several depositions, voluminous

 motions practice, and multiple trials to date in this litigation.”). The J&J Defendants tend to

 agree with that characterization and are willing to allow plaintiffs in this proceeding access to

 that discovery, subject to an appropriate protective order.5 However, to the extent any additional

 discovery is necessary, the parties should be directed to develop and present to the Court a




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         As noted above, a protective order has already been entered in the Chakalos case pending
 before this Court. If that order were deemed applicable to all cases in the MDL proceeding, the
 J&J Defendants would be willing to produce the documents already made available to plaintiffs
 in Chakalos.

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 protocol and schedule for completing such efforts in the short term. The J&J Defendants have

 requested that in the meantime, all discovery deadlines be stayed.

 VI.     GENERAL PROCEDURAL ORDERS

        An e-discovery protocol order and a protective order have been entered in the Chakalos

 case previously pending before this Court. Those orders should be deemed applicable (with

 appropriate adaptation) to all cases in this MDL proceeding. The J&J Defendants propose that

 the Court request that the parties confer in an effort to jointly present to the Court the following

 additional proposed general procedural orders:

            a. a basic procedural order concerning matters such as form of captions on filings,

                service of filings, and appearance/admission of counsel;

            b. an order setting forth guidelines for the scheduling and conduct of depositions,

                including a protocol governing procedures for in extremis depositions; and

            c. a case management order governing further proceedings regarding consideration

                of Daubert motions, including the random selection of cases for that exercise, the

                conduct of case-specific discovery, the designation of experts, and the conduct of

                expert discovery.

 VII.   PLAINTIFF FACT SHEETS

        The J&J Defendants request that each individual plaintiff in this MDL proceeding be

 required to complete a standardized set of discovery in the form of a Plaintiff Fact Sheet

 (“PFS”), with responses sufficient to confirm that prior to filing suit, plaintiffs’ counsel

 conducted due diligence regarding the claims asserted, consistent with the requirements of Fed.

 R. Civ. P. 11. The PFS should provide basic information about plaintiffs’ claims, compel

 production of medical records and other relevant documents in each plaintiff’s possession, and




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 require provision of appropriate authorizations to collect relevant medical records. The PFS

 responses should be binding on each responding plaintiff as though they are standard discovery.

 The J&J Defendants suggest that the parties meet and confer regarding the content of this PFS

 and jointly present the Court with a proposed draft. The PFS forms already being used in the

 Missouri and New Jersey talc proceedings may be adapted for use in this MDL proceeding.

        As the Court is aware, standardized fact sheets have become commonplace in MDL

 proceedings because they spare defendants the cost of adapting hundreds – or perhaps thousands

 – of interrogatories to individual plaintiffs, while affording plaintiffs’ counsel an easier, less

 expensive approach to satisfying initial discovery obligations. See George M. Fleming & Jessica

 Kasischke, MDL Practice: Avoiding the Black Hole, 56 S. Tex. L. Rev. 71, 81 (2014)

 (“Transferee courts routinely engage in plaintiff and defendant fact sheets, a uniform set of

 questions asked of all MDL plaintiffs and defendants that generally serve as interrogatories.”).

 In fact, this Court has previously employed the use of fact sheets in a MDL proceeding. See

 CMO 2, In re Plavix Product Liability and Marketing Litigation, Docket No. 3:13-cv-02418

 (ordering that “[e]ach ingesting and representative Plaintiff in MDL No. 2418 for whom

 jurisdiction is not contested shall complete and serve a Plaintiff Profile Form (PPF)”).

        Importantly, fact sheets are useful only if they are completed fully, accurately, and

 timely. With that in mind, the J&J Defendants will urge adoption of an order requiring that all

 fact sheets be completed fully and accurately in accordance with firm deadlines. See MDL

 Standards and Best Practices at 13, Duke Law Center for Judicial Studies (2014) (“The court

 should impose concrete time limitations for completing fact sheets.”). The proposed order

 should also set forth the potential consequences of non-compliance.            See Jaime Dodge,

 Facilitative Judging: Organizational Design in Mass-Multidistrict Litigation, 64 Emory L.J. 329,




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 353-64 (2014) (“[T]he transferee judge [should] clearly specify the sanctions that will be

 imposed should counsel submit erroneous or incomplete sheets.”).            After all, “[a]bsent the

 imposition of specific and substantial sanctions from the court, the structure of the MDL does not

 itself impose a significant check upon the veracity of fact sheets.” Id.; see also MDL Standards

 and Best Practices, supra, at 13 (“Unless such deadlines are rigorously enforced, counsel

 handling multiple claims may fall far behind in fulfilling that obligation.”).

         The J&J Defendants propose that the initial disclosures contemplated by Fed. R. Civ. P.

 26(a)(1)(A) not be provided for cases in this MDL proceeding, in deference to the use of Plaintiff

 Fact Sheets and the discovery already provided by the J&J Defendants.

 VIII. FUTURE CASE MANAGEMENT CONFERENCES

         The J&J Defendants request that the Court hold monthly status conferences, either in

 person or via telephone. In particular, it is urged that another conference be held in mid-

 December to ensure early progress. It may be appropriate to conduct all (or at least portions) of

 the status conferences in chambers. The parties should be asked to provide a joint written

 proposed agenda seven (7) days prior to the scheduled date of each conference.

 IX.     SETTLEMENT DISCUSSIONS

         The parties have not engaged in settlement discussions, and such conversations would not

 be beneficial at this time.



 Dated: November 10, 2016                              s/Susan M. Sharko
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                                          APPENDIX A
                                         Motions to Dismiss

 Case Name     Number       Transferor Motions by Johnson             Pending Motions by Imerys
               of           Court      & Johnson
               Plaintiffs
 Anderson          1        M.D. La.       Failure to state a claim   (not a party in this case)
 Barker            1        N.D. Ohio      Failure to state a claim   Failure to state a claim;
                                                                      Lack of personal jurisdiction
 Batiste           1        W.D. La.       Failure to state a claim   (not a party in this case)
 Bors              1        E.D. Pa.       Failure to state a claim   Failure to state a claim
                                           (denied)                   (denied);
                                                                      Lack of personal jurisdiction
                                                                      (denied)
 Casey             2        W.D. Ky.       Failure to state a claim   Failure to state a claim;
                                                                      Lack of personal jurisdiction
 Cerrone-          2        W.D. Mo.       Failure to state a claim   Lack of personal jurisdiction
 Kennedy
 Davis             1        D. Kan.        Failure to state a claim   n/a
 Epps              1        N.D. Ga.       Failure to state a claim   Failure to state a claim
 Estrada         class      E.D. Cal.      Failure to state a claim   (not a party in this case)
 Fenstemaker       2        E.D. Mo.       Lack of Personal           Lack of personal jurisdiction;
                                           Jurisdiction;              Improper venue
                                           Improper venue
 Francis           1        S.D. Fla.      Failure to state a claim   n/a
 Handy             1        E.D. Pa.       Failure to state a claim   Lack of personal jurisdiction;
                                                                      Failure to state a claim
 Harper            1        N.D. Fla.      Failure to state a claim   Lack of personal jurisdiction;
                                                                      Failure to state a claim
 Hicks             2        M.D. Ga.       Failure to state a claim   Failure to state a claim
 Jackson           1        E.D. La.       Failure to state a claim   Lack of personal jurisdiction;
                                                                      Failure to state a claim
 Johnson           1        D. Minn.       Failure to state a claim   (not a party in this case)
 Johnston          1        M.D. Ala.      Failure to state a claim   (not a party in this case)
 Kehres            4        N.D. Ohio      Failure to state a claim   Lack of personal jurisdiction;
                                                                      Failure to state a claim
 Kuhn              1        M.D. Tenn. Failure to state a claim       (not a party in this case)
 Lovato           15        D.N.M.     Failure to state a             Lack of personal jurisdiction
                                       claim;
                                       Improper venue;
                                       Lack of personal
                                       jurisdiction
 Martin            1        D. Kan.    Failure to state a claim       n/a
 Maurer-           1        S.D. Ind.  Failure to state a claim       n/a
 Martin


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 Case Name    Number       Transferor Motions by Johnson             Pending Motions by Imerys
              of           Court      & Johnson
              Plaintiffs
 McBride          1        E.D. La.       Failure to state a claim   n/a
 Musgrove         1        N.D. Ill.      Failure to state a claim   (not a party in this case)
                                          (terminated without
                                          prejudice)
 Olichney         1        S.D. Fla.      Failure to state a claim   Failure to state a claim
                                          (terminated without        (terminated without prejudice)
                                          prejudice)
 Philips          1        E.D. Tex.      Failure to state a claim   (not a party in this case)
 Rempas           1        N.D. Ill.      Failure to state a claim   Lack of personal jurisdiction
 Rich-            1        N.D. Miss.     Failure to state a claim   (not a party in this case)
 Williams
 Robb             3        W.D. Okla.     Failure to state a claim   Lack of personal jurisdiction
                                          (stipulated to by          (Notice of Voluntary
                                          plaintiffs as to count 7   Dismissal of Imerys filed
                                          of the complaint)          7/19/16)
 Robinson         1        S.D. Miss.     Failure to state a claim   (not a party in this case)

 Shelton          1        W.D.N.C.       Failure to state a claim   Lack of personal jurisdiction;
                                                                     Failure to state a claim
 Shinske          2        M.D. Fla.      Failure to state a claim   n/a
 Slayden          1        S.D. Ill.      n/a                        Lack of personal jurisdiction
 Strickland       2        N.D. Ga.       Failure to state a claim   Failure to state a claim
 Traylor          1        M.D. Ga.       Failure to state a claim   Failure to state a claim
 Walker           1        N.D. Ga.       Failure to state a claim   Failure to state a claim
 Wilson           1        N.D. Ala.      Failure to state a claim   Failure to state a claim;
                                                                     Lack of personal jurisdiction
 Wood             2        S.D. Fla.      Failure to state a claim   Failure to state a claim;
                                                                     Lack of personal jurisdiction


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